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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 REBECCA MOTT,

                                Plaintiff,
         v.                                            Case No.

 GUARANTEED RATE, INC.,

                                Defendant.

                            COMPLAINT AND JURY DEMAND

        Rebecca Mott (“Mott” or “Plaintiff”), by her attorneys, states the following as her

Complaint against defendant Guaranteed Rate, Inc. (“GRI”):

                                       INTRODUCTION

        1.     This is an action for violations of the Lanham Act, Illinois’ Right to Publicity Act

and Illinois’ Consumer Fraud and Deceptive Business Practices Act.

        2.     It arose when GRI, a mortgage lender, intentionally used Mott’s likeness to create

confusion and mislead consumers into believing Mott, an experienced mortgage broker with a

large following of current and former customer contacts, remained employed at GRI for several

months after she resigned from GRI on January 28, 2020.

        3.     For several months after Mott’s resignation, GRI engaged in a deliberate and

misleading campaign, designed to perpetrate a fraud on consumers to create the false impression

that Mott remained associated with and employed by GRI. These efforts included mailing

thousands of postcards which contained Mott’s image and former GRI contact information to

borrowers, realtors, and builders in Mott’s customer database; leaving her image and contact

information on GRI’s website; and leaving her voicemail message intact, which indicated she

remained employed at GRI, despite the fact that she had resigned months earlier.


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        4.      As a direct result of GRI’s campaign, consumers were tricked into believing Mott

remained associated with GRI. To add insult to injury, after Plaintiff resigned her employment

with GRI, GRI unlawfully withheld her outstanding earned commissions and retained her personal

property, including but not limited to custom office furniture and signage that Mott had paid for

out of her own pocket.

        5.      Worse still, this is not an isolated incident or an innocent mistake. To the contrary,

GRI systematically engages in false advertising and unlawfully uses the likenesses of its departing

loan officers and other employees as part of its routine business practices. Indeed, GRI has done

the very same thing, to the same effect, with respect to a number of other ex-employees, including

but not limited to Harry “Rick” Richter and Greg Thomas.

                                 PARTIES AND JURISDICTION

        6.      GRI is a Delaware corporation in the mortgage banking industry with its principal

place of business in Chicago, Illinois.

        7.      Mott is an individual who resides in Mokena, Illinois.

        8.      Subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331 because this action

arises in part under the Lanham Act, 15 U.S.C. 1051 § et seq., and as provided for in 28 U.S.C. §

1367, this Court shall exercise supplemental jurisdiction over the state law claims asserted herein.

        9.      This Court has personal jurisdiction over GRI because GRI resides in or have

regular and established place of business within this District.

        10.     Venue is proper in this District pursuant to (i) 28 U.S.C. § 1391(b)(1) because GRI

resides in and has a regular and established place of business within this District; and (ii) 28

U.S.C. § 1391(b)(2), because a substantial part of the events or omissions giving rise to Mott’s

claims occurred in this judicial district.



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                                         BACKGROUND

        11.    Mott is a highly successful mortgage broker, who has worked in the mortgage

industry for over 19 years.

        12.    Over the course of her career, Mott has provided advice, counseling and services to

thousands of customers in connection with the purchase or refinance of their homes.

        13.    Mott has spent nearly two decades earning and maintaining a sterling reputation as

a successful mortgage broker, and building a large contact database of over 3,500 clients, real

estate agents, builders, financial planners, and real estate attorneys (the “Mott Database”).

        14.    GRI hired Mott in 2014 as a Vice President of Mortgage Lending, and eventually

promoted her to the role of Producing Branch Manager of the GRI branch located in Mokena,

Illinois.

        15.    Throughout her time at GRI, Mott was responsible for originating and closing

mortgage loans. She generally closed anywhere from $2,500,000 to $4,000,000 in loans every

month, and amassed a database of thousands of borrowers, realtors, and real estate attorneys, which

contained personal information, such as birthdays, specific to those individuals.

        16.    On January 28, 2020, Mott resigned from GRI and joined another mortgage lender,

CrossCountry Mortgage (“CCM”).

        17.    Despite Mott’s departure, on or about February 18, 2020, GRI sent individual

postcards to each person and/or entity in the Mott Database, falsely representing that Mott

remained employed at GRI and soliciting her contacts’ continued business on that basis.

        18.    Sometime thereafter, GRI sent a second round of individual mailings to each person

and/or entity in the Mott Database, again falsely representing that Mott was still a GRI employee

and soliciting business on that basis.



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        19.    These mailings coincided with historically low mortgage rates and very high

demand for mortgages.

        20.    After Mott’s resignation, GRI sent birthday greeting e-mails to individuals in the

Mott Database; these e-mails stated, among other things: “Thank you for your business and

referrals. It means the world to me!”

        21.    GRI’s birthday e-mails falsely identified Mott as a Vice President of Lending in

GRI’s Mokena Office.

        22.    After Mott’s resignation, GRI also kept Mott’s image and contact information on

its website, falsely showing that she was the branch manager of GRI’s Mokena Office.

        23.    Likewise, GRI kept Mott’s voicemail message on her former GRI phone number

active, falsely indicating that she was then-currently still employed at GRI.

    COUNT I: FALSE ENDORSEMENT – LANHAM ACT, 15 U.S.C. §1125 (A)(1)(A)

        24.    Plaintiff restates and realleges the allegations set forth in Paragraphs 1 through 23

as though set forth fully herein.

        25.    Mott is well known in the Chicago real estate market and recognized as a superior

mortgage broker. There is clear commercial value in her identity and reputation as reflected by

her loyal customer base.

        26.    GRI has willfully, knowingly and wrongfully used Mott’s name and likeness to

intentionally confuse consumers into believing she endorsed GRI after her departure by (i) sending

mass mailings and e-mails that contained her name and contact information and indicated she

continued to be employed at GRI; (ii) leaving her name and GRI contact information on GRI’s

website; and (iii) keeping her GRI voicemail active for months.




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        27.      GRI’s conduct has created a likelihood of confusion with consumers who are

looking to obtain mortgages.

        28.      As a result of GRI’s conduct, Mott has been damaged by actual consumer reliance

on the misleading statements and has suffered actual injury in the form of lost revenue and profits

from consumers who obtained mortgages through GRI, thinking that Mott remained employed

there and/or endorsed GRI.

        29.      As a result of GRI’s conduct, GRI has unjustly enriched itself by closing on – and

earning commissions from - mortgage loans while consumers mistakenly thought that Mott was

still employed at GRI, and by benefiting from the goodwill associated with Mott’s name.

        WHEREFORE, Plaintiff respectfully requests that this Court enter an Order (a) awarding

Mott treble the amount of her damages, as determined at trial; (b) ordering GRI to disgorge any

funds obtained through its use of Mott’s name, likeness, voice recording or image; (c) ordering

GRI to perform corrective advertising; and (d) awarding Mott the costs of this action, including

but not limited to attorney fees.

   COUNT II: FALSE ADVERTISEMENT – LANHAM ACT, 15 U.S.C. §1125(A)(1)(B)

        30.      Plaintiff restates and realleges the allegations set forth in Paragraphs 1 through 23

as though set forth fully herein.

        31.      Mott is well known in the Chicago real estate market and recognized as a superior

mortgage broker. There is clear value in her identity and reputation as reflected by her loyal

customer base.

        32.      GRI has wrongfully used Mott’s name and likeness to intentionally confuse

consumers into believing she endorsed GRI and remained employed by GRI after her resignation




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by sending mass mailing advertisements and e-mails for GRI that contained Mott’s name and

contact information and indicated that Mott remained employed at GRI.

         33.    GRI’s mass mailings and e-mails were commercial advertisements for its products

and services and contained Mott’s likeness in an effort to create a likelihood of confusion with

consumers who are looking to purchase mortgages.

         34.    GRI’s mass mailings and e-mails deceived or had the tendency to deceive each

consumer of mortgages that received the mailing that Mott remained employed with GRI.

         35.    As a result of GRI’s conduct, Mott has been damaged by actual consumer reliance

on the misleading statements and has suffered actual injury in the form of lost revenue and profits

from consumers who purchased mortgages through GRI, thinking that Mott remained employed

there.

         36.    As a result of GRI’s conduct, GRI has unjustly enriched itself by closing on – and

earning commissions from - mortgage loans while consumers mistakenly thought that Mott was

still employed at GRI.

         WHEREFORE, Plaintiff respectfully requests that this Court enter an Order (a) awarding

Mott treble the amount of her damages, as determined at trial; (b) ordering GRI to disgorge any

funds obtained through its use of Mott’s name, likeness, voice recording or image; (c) ordering

GRI to perform corrective advertising; and (d) awarding Mott the costs of this action, including

but not limited to attorney fees.

          COUNT III: VIOLATION OF ILLINOIS’ RIGHT TO PUBLICITY ACT,
                                765 ILCS 1065/1

         37.    Plaintiff restates and realleges the allegations set forth in Paragraphs 1 through 23

as though set forth fully herein.




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        38.       GRI’s mass mailings and e-mails contained a photograph of Mott, identified her by

name and her unique NMLS identification number, and provided her contact information at GRI.

        39.       GRI’s mass mailings, which were sent to thousands of individuals, and e-mails

were sent without Mott’s consent.

        40.       GRI’s mass mailings and e-mails were sent willfully and violate Illinois’ Right to

Publicity Act, 765 ILCS 1075/1 et al.

        41.       GRI’s violation of the Right to Publicity Act with respect to Mott is not an isolated

incident or an innocent mistake, but is instead typical of its practices when a loan officer or other

employee resigns from GRI’s employ.

        42.       GRI engaged in the same behavior after Richter and Thomas (the “Former GRI

Employees”) resigned. Among other things, GRI has sent mailers to each of the Former GRI

Employees’ contacts, maintained webpages listing the Former GRI Employees as current GRI

employees, left certain of the Former GRI Employee’s names on the exterior of GRI office

buildings, and continued to advertise the Former GRI Employees through Google AdWords.

        WHEREFORE, Plaintiff respectfully requests that this Court enter an Order awarding

Plaintiff the following relief:

        (a) The greater of Plaintiff’s actual damages or $1,000 for each violation, pursuant to 765

               ILCS 1075/40(a);

        (b) Punitive damages for GRI’s willful violation of Section 30 of the Right to Publicity

               Act pursuant to 765 ILCS 1075/40(b);

        (c) Reasonable attorneys’ fees, costs and expenses pursuant to 765 ILCS 1075/55; and




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          (d) A permanent injunction, enjoining GRI from sending out any further promotional or

                advertising materials using Mott’s likeliness without her written consent pursuant to

                765 ILCS 1075/50.

   COUNT IV: VIOLATION OF ILLINOIS’ CONSUMER FRAUD AND DECEPTIVE
                       BUSINESS PRACTICES ACT,
                           815 ILCS 505/1 et seq.

          43.      Plaintiff restates and realleges the allegations set forth in Paragraphs 1 through 23

as though set forth fully herein.

          44.      GRI’s mass mailings and e-mails contained a photograph of Mott, identified her by

name and provided her contact information at GRI.

          45.      GRI’s mass mailings, which were sent to thousands of individuals, and e-mails

were sent without Mott’s written consent.

          46.      At the time GRI sent the mass mailings and e-mails, Mott was no longer working

at GRI. Despite that, GRI tried to capitalize on Mott’s excellent reputation and goodwill with

consumers and sent the mass mailing out with the hope that consumers would purchase a mortgage

through GRI due to its supposed affiliation with Mott.

          47.      GRI sent the mass mailings and e-mails with the intent to deceive consumers into

believing that Mott remained affiliated with GRI, knowing full well that she had resigned prior to

the mass mailings being sent.

          48.      In addition to the mass mailings and e-mails, GRI deceived consumers for months

by keeping Mott’s image and contact information on its website and keeping Mott’s voicemail

active.

          49.      As a result of GRI’s fraud on consumers, Mott lost commissions on mortgages that

GRI closed as a result of the confusion GRI intentionally caused in the mortgage marketplace.



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        WHEREFORE, Plaintiff respectfully requests that this Court enter an Order awarding

Plaintiff the following relief:

               a. Plaintiff’s actual damages in an amount to be determined at trial;

               b. Punitive damages;

               c. Attorneys’ fees and costs; and

               d. Any other relief deemed appropriate pursuant to 815 ILCS 505/10a.


PLAINTIFF DEMANDS TRIAL BY JURY
                                                        Respectfully submitted,

Date: September 9, 2020                                 REBECCA MOTT

                                                        By: /s/ Jeffrey L. Widman
                                                            One of her attorneys

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